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                         UNITED STATES BANKRUPTCY COURT
                            MIDDLE DISTRICT OF FLORIDA
                               FORT MYERS DIVISION

IN RE:

GREGORY A. PAGE                                      Case No. 9:15-bk-06439-FMD
COLLEEN M. PAGE

            Debtor(s)
_________________________________/

                     TRUSTEE’S REPORT OF UNCLAIMED FUNDS

       COMES NOW, Robert E. Tardif Jr., as Trustee of the above-captioned matter, and
respectfully states that, in accordance with the Order Allowing Administrative Expenses, he has
disbursed the funds in the Trustee's account to the Creditors, but the following check (payable to
the Debtor) has never been presented for payment. The Trustee has attempted to locate the
Debtors’ current address information, but has not been successful.

Claim #       Check #                 Claimant/Debtor                              Amount
              1005                    Gregory A. Page/Colleen M. Page              $9,070.54
                                      19144 Dogwood Road
                                      Fort Myers, FL 33967

The Trustee shall provide a check made payable to the U.S. Bankruptcy Court in the total
amount of $9,070.54 to the clerk of court for deposit in the “unclaimed funds account,” and
states that the Debtor(s) entitled thereto is/are as listed above.

I hereby certify that a true and correct copy of the above and foregoing has been furnished
electronically to the U.S. Trustee, 501 E. Polk Street, Ste. 1200, Tampa, FL, 33602, this 19th day
of September, 2018.


                                               /s/ Robert E. Tardif Jr.
                                             Robert E. Tardif Jr., Trustee
                                             Post Office Box 2140
                                             Fort Myers, FL 33902
                                             (239) 362-2755
                                             (239) 362-2756 - facsimile
